       Case 1:13-cr-00018-DMT           Document 63        Filed 03/13/13      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )       INTERSTATE AGREEMENT ON
                                              )       DETAINERS ORDER
       vs.                                    )
                                              )
Nathan William Fehl-Haber,                    )       Case No. 1:13-cr-18-04
                                              )
               Defendant.                     )


       On March 13, 2013, the defendant made his initial appearance in the above-entitled action

and was arraigned. AUSA Brandi Sasse Russell appeared on the Government’s behalf. Attorney

Dan Herbel was appointed as defense counsel and appeared on the defendant’s behalf.

       Prior to his initial appearance, defendant was incarcerated by the State of North Dakota at

the North Dakota State Penitentiary in Bismarck, North Dakota. After the indictment in this case

was returned and an arrest warrant issued, a detainer was filed by the United States with the North

Dakota prison officials. Pursuant to the Interstate Agreement on Detainers Act (“IADA”), the

defendant’s appearance before this court for his initial appearance and arraignment was secured by

a writ of habeas corpus ad prosequendum.

       During the hearing, defendant was advised of his rights under the IADA to continued federal

custody until the charges set forth in the indictment are adjudicated. Defendant knowingly,

voluntarily, and upon advice of counsel waived the anti-shuttling provisions of the IADA and in

open court and stipulated to his continued housing by the State of North Dakota (the “sending state”

under the IADA) at the North Dakota State Penitentiary pending trial of the charges on the



                                                  1
        Case 1:13-cr-00018-DMT           Document 63        Filed 03/13/13      Page 2 of 2




indictment by the United States (the “receiving state” under the IADA). The United States

concurred in this stipulation.

       Based on the foregoing stipulation of the defendant and the United States and the

defendant’s wavier of the anti-shuttling provisions of the IADA, IT IS HEREBY ORDERED that

the defendant be housed in the “sending state” under the IADA, at the North Dakota State

Penitentiary in Bismarck, North Dakota, pending trial of this matter or until further order of the

court. Further, pursuant to the defendant’s waiver, the return of the defendant to his place of

incarceration pending trial shall not be grounds under the IADA for dismissal of the charges set forth

in the indictment.

       Dated this 13th day of March, 2013.



                                               /s/ Charles S. Miller, Jr.
                                               Charles S. Miller, Jr., Magistrate Judge
                                               United States District Court




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